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lN THE UNITED STATES DISTRICT COURT F"-ED 8`¥'
FOR THE WESTERN DISTRICT OF TENNESSEE m D'C‘
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lNC., doing business as Wachovia Small W/D 957 534 -é§§:pg?nqr

Business Capital, and formerly known as
The Money Store Comrneroial Mortgage, Inc.,

Plaintiff,
v.

SUN ENTERPRISES, INC,, AMlT K. RAY,
and TAPITI RAY,

Defendants.

Case No. 05-2257-l\/Ia p

 

ORDER GRANTING MOTION TO SET ASIDE ENTRY OF DEFAULT

 

IT APPEARS to the Court the Defendants filed a motion pursuant to F. R. C. P.

5 5((:) to set aside the entry of default heretofore entered in this cause on May 24, 2005.

For good cause shown, the Court hereby grants the motion to set aside entry of default

The Defendants’ answer filed in this case on June 22, 2005 shall be allowed.

lT IS SO ORDERED.

    

u ene G. Douglass, #7996
Attorney for Petitioner
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(901) 388-5804

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 11 in
case 2:05-CV-02257 Was distributed by f`aX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

